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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION


 MAXELL, LTD.,
                                                          Case No. 5:19-cv-00036-RWS
                           Plaintiff,

 v.                                                       JURY TRIAL DEMANDED

 APPLE INC.,

                           Defendant.


                                                ORDER

        Upon consideration of Plaintiff Maxell, Ltd.’s (“Maxell”) Motion to Amend the

 Protective Order and for an Order of Discovery Under 28 U.S.C. § 1782, Apple’s response in

 Opposition thereto, and the record before the Court, the Court finds that the Motion should be

 GRANTED.

        IT IS THEREFORE ORDERED that Maxell, Apple Inc., and Intel Corporation meet

 and confer on a Proposed Addendum to the Protective Order and file the Proposed Addendum

 with the Court within 10 days of this order.
